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 LAMD Using ZoomGov as a Participant
                                                                  sdd20 – Hon. Shelly D. Dick
On Laptop: Join a meeting (use Chrome or IE)                      baj20 – Hon. Brian A. Jackson
Navigate to room URL: https://zoomgov.com/my/____                 jwd20 – Hon. John W. deGravelles
                                                                  rlb20 – Hon. Richard L. Bourgeois, Jr.
                                                                  ewd20 – Hon. Erin Wilder‐Doomes
                                                                  sdj20 – Hon. Scott D. Johnson




OPTION 1: Join with Computer Audio (for best audio quality use a headset)
OPTION 2: Join by Phone Call


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 Meeting ID                                        Judge
 160‐0389‐3634                                     SDD – Chief Judge Shelly D. Dick
 160‐0389‐3692                                     BAJ – Judge Brian A. Jackson
 160‐0389‐3568                                     JWD – Judge John W. deGravelles
 160‐0389‐3602                                     RLB – Magistrate Richard L. Bourgeois
 160‐0389‐3584                                     EWD – Magistrate Erin Wilder‐Doomes
 160‐0389‐3592                                     SDJ – Magistrate Scott D. Johnson
 160‐0389‐3500                                     LAMD Court (for testing)

Mute your Microphone when not speaking




On iPhone, iPad or Android:
In advance, Download the ZOOM Cloud Meetings app from Apple App Store or Google Play Store.
   ‐   You will be sent a meeting URL to connect to the Zoom Call, when clicking the URL on
       iPhone or Android device it should automatically open in the Zoom App.
   Judge Meeting Room Links:
   Navigate to the URL provided: https://zoomgov.com/my/sdj20 (Magistrate Scott D. Johnson) ‐
   Click “Join with Video” or “Join without Video”
   ‐   Click “Call using Internet Audio”
 You should now be connected to the Zoom call.
 If the meeting URL didn’t work, use the following instructions:


Open ZOOM Cloud Meetings app on iPhone or Android
   ‐   Click Join a Meeting
   ‐   Enter the Meeting ID: 160‐0389‐3592 (SDJ)
   ‐   Click “Join with Video” or “Join without Video”
   ‐   Click “Call using Internet Audio”



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Breakout Room
When being invited to a Breakout Room, click the Join button on the pop‐up.




To return back to the Main Session, click “Leave Breakout Room.”




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